                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                WESTERN DIVISION

                                       NO. 5:19-CR-408-FL

 UNITED STATES OF AMERICA,                     )
                                               )
       v.                                      )                     ORDER
                                               )
 ADAM RYAN CORNETT,                            )
                                               )
                Defendant.                     )



       This matter is before the court on the Memorandum and Recommendation (“M&R”) of

United States Magistrate Judge Robert B. Jones, Jr., regarding defendant’s motion to suppress (DE

27). No objections to the M&R have been filed, and the time within which to make any objection

has expired. This matter is ripe for ruling.

       The district court reviews de novo those portions of a magistrate judge’s M&R to which

specific objections are filed. 28 U.S.C. § 636(b). Absent a specific and timely filed objection, the

court reviews only for “clear error,” and need not give any explanation for adopting the M&R.

Camby v. Davis, 718 F.2d 198, 200 (4th Cir.1983). In this case, the magistrate judge thoroughly

and cogently addresses the issues raised by defendant’s motion to suppress. Upon careful review

of the M&R and of the record generally, having found no clear error, the court hereby ADOPTS

the recommendation of the magistrate judge as its own, and, for the reasons stated therein,

defendant’s motion to suppress is DENIED.

       SO ORDERED, this the 8th day of June, 2020.



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                                               LOUISE W. FLANAGAN
                                               United States District Judge



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